The court incorporates by reference in this paragraph and adopts as the findings
and orders of this court the document set forth below. This document was signed
electronically on January 30, 2018, which may be different from its entry on the record.



IT IS SO ORDERED.                                              ENTERED UNDER ADMINISTRATIVE
                                                               ORDER NO. 02-10: TERESA D. UNDERWOOD,
                                                               CLERK OF COURT
                                                               BY: ____________________________
                                                                   /s/ Nikita Brown
Dated: January 30, 2018                                            Deputy Clerk




                                            UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF OHIO
                                                    EASTERN DIVISION

   In re: John Yasch                                            )   Case No. 17-16712
                                                                )
                                                                )   Judge: Arthur Harris
                                                                )
                                   Debtor(s)                    )   CHAPTER 13
                                                                )
   Social Security No. XXX-XX- 3375                             )   ORDER DIRECTING EMPLOYER
                                                                )   TO MAKE DEDUCTIONS FROM
                                                                )   DEBTOR-EMPLOYEE'S WAGES,
                                                                )   COMBINED WITH RELATED ORDERS

    To:   Gooch & Housego Ohio LLC

            The above name debtor has filed bankruptcy under Chapter 13 of the Bankruptcy Code. As a result, all of the
   Debtor’s future earnings are under the exclusive jurisdiction of this Court. Based on the Debtor’s filings, the Debtor’s
   employer is:

   Employer’s Name:          Gooch & Housego Ohio LLC
   Address:                  676 Alpha Drive
   City/State/Zip:           Highland Heights, Ohio 44143
   Phone:                    (216) 486-6100

            In accordance with the relevant provisions of the Debtor’s proposed plan,

           IT IS, THEREFORE, ORDERED, under 11 U.S.C. § 1325(c) and § 1326, that the Debtor’s employer
   immediately deduct $ 1,186.26                per month and the same amount each month thereafter from the Debtor’s
   wages, salary, commissions, and all other earnings or income and promptly forward the amounts deducted to the
   Chapter 13 Trustee until further order of this court. The Chapter 13 Trustee’s name and payment address are:

                                               Lauren Helbling, Chapter 13 Trustee
                                                         P.O. Box 593
                                                    Memphis, TN 38101-0593
                                  Include the case number shown above with all payments.


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           IT IS FURTHER ORDERED, under 11 U.S.C. § 362(a), that the EMPLOYER SHOULD CEASE ALL FURTHER
  DEDUCTIONS FOR GARNISHMENT, WAGE ASSIGNMENTS, OR CREDIT UNIONS unless specifically authorized by
  this Court or until this Order is modified or vacated; however, deductions for child support ordered by the Common Pleas
  Court or Domestic Relations Court may continue.

          IT IS FURTHER ORDERED that if the Debtor’s employment terminates during the term of the bankruptcy plan,
  the employer is to notify the Chapter 13 Trustee.

  By submitting this form the debtor’s attorney certifies that this form is identical in all respects to the official form.

                 Attorney for Debtor:         /s/ William J. Balena (0019641)
                 Address:                     30400 Detroit Rd., #106
                 City/State/Zip:              Westlake, Ohio 44145
                 Phone:                       440-365-2000

                                            SEE ATTACHED CERTIFICATE OF SERVICE
  Revised March 1, 2011




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                                                    SERVICE LIST



  Lauren Helbling, Chapter 13 Trustee, via ecf at ch13trustee@ch13cleve.com


  William J. Balena (0019641)
  Attorney for Debtor(s)
  (via e-mail at docket@ohbksource.com)


  John & Toni Yasch, 13407 Sherry Avenue, Cleveland, Ohio 44135

  Gooch & Housego Ohio LLC, 676 Alpha Drive, Highland Heights, Ohio 44143



                                                          ###




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